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                                                           U.S.DlSTRiCTCOUftB
                IN THE UNITED STATES DISTRICT COURtRUilSWlCK DIV.
               FOR THE SOUTHERN DISTRICT OF
                                                    GE0R^][^CT 2U A 8: 5b
                          WAYCROSS DIVISION

                                                         CLERK_
 COALITION FOR GOOD
                                                             SU.UI5T. OFGA.
 GOVERNANCE and DONNA
 CURLING,                                 Civil Action No. > MC523-001


 Plaintiffs,                              In RE Subpoenas issued by the
                                          United States District Court
 V.                                       For the Northern District of
                                          Georgia, Atlanta Division,
 COFFEE        COUNTY     OF Civil Action File No.1:17-CV-
                          BOARD
 ELECTIONS AND REGISTRATION, 2989-AT

 Defendant.


           PLAINTIFFS'MOTION TO COMPEL COMPLIANCE
            WITH SUBPOENAS TO PRODUCE DOCUMENTS,
                      INFORMATION,OR OBJECTS


                             Background Facts

       Plaintiffs and Movants Coalition for Good Governance ("CGG") and

Donna Curling bring this action to enforce two Subpoenas to Produce

Documents,Information, or Objects and to Permit Inspection of Premises in

a Civil Action (the "Subpoenas")issued by the United States District Court

for the Northern District of Georgia, Atlanta Division in Curling, et al. v.

Rajfensperger, et al, No. l:17-CV-2989-AT {"Curling"). One document
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subpoena was served by the "Coalition Plaintiffs/' including CGG,on July

25, 2022. (Exhibit 1). A related document subpoena was served by the

"Curling Plaintiffs," including Donna Curling,on June 15,2022. (Exhibit 2).

Both Subpoenas were served on the Coffee County Board of Elections and

Registration(CCBOER)in the Southern District of Georgia, and counsel for

all parties began frequent negotiations and conferrals.

      Movants CGG and Donna Curling are co-plaintiffs in the Curling case,

along with six other Georgia voters. The plaintiffs in Curling seek, among

other relief,to enjoin the defendants(state and county election officials)from

"forcing in-person voters to use ballot marking devices ('BMDs')" and to

instead require "voters to use hand-marked paper ballots as the standard

method for in-person voting." {Curling, Doc.964 at 2). The Curling plaintiffs

allege the BMD system, manufactured by Dominion Voting Systems

("Dominion"), including its software design, "undermine the integrity,

security, and functionality of the voting system and in turn, adversely

impact whether citizens' votes will be counted as intended or counted at all."

{Id. at 29). The trial in Curling is currently scheduled to begin on January 9,

2024. {Curling, Doc. 1700). The Curling plaintiffs need access to the

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documents and records at issue here at the earliest possible time to

adequately prepare for trial.

      As explained below,CCBOER has consistently denied the existence of

thousands of CCBOER email records since March 2022.             CCBOER has


claimed that former Election Supervisor Misty Hampton's emails and

related documents (such as email attachments) created and stored over her

almost ten-year period of official election responsibilities were not preserved

upon the termination of her employment in February 2021. On October 5,

2023, Movants learned through filings in the high-profile RICO prosecution

of former President Trump and others. State ofGeorgia v. Donald J. Trump,et

al., No.23SC188947(Fulton Cty.Super. Ct.)("Fulton Case"),that the Georgia

Bureau of Investigation ("GBI") has obtained thousands of Hampton's

emails and CCBOER documents from a CCBOER desktop computer (the

"Desktop"). Movants learned through a public records request that the GBI

obtained a search warrant on or about June 12,2023,for the Desktop located

in the CCBOER office in Douglas,Georgia. This motion seeks production of

records among those thousands of documents on the Desktop responsive to

the longstanding Subpoenas.
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      CCBOER's connection to the Curling case arises out of three January

2021 breaches of the Coffee County, Georgia, election system and the

unlawful copying and distribution of Georgia's Dominion election software

systeml Ms. Hampton and at least one former CCBOER member, Eric

Chaney, were key participants in planning and executing the breaches, and

permitting unauthorized individuals to access and copy the software and

data on the voting system components and ultimately distribute such

sensitive data via a private internet site. Ms. Hampton and three other

individuals were indicted on charges related to the breaches by the Fulton

County District Attorney in the Fulton Case.^ Those breaches and the

resulting impairment of the integrity of the Georgia elections system

represent a serious and ongoing risk to Georgia's future elections, as is

explained in Curling Plaintiffs' Brief Opposing Defendants' Motions for

Summary Judgment. {Curlings Doc.1636 at 14-21).


^     https://www.washingtonpost.eom/investigations/1022/08/22/election-system-
copied-files-'trump/

2 As of this filing, three of those defendants, Sidney Powell, Scott Hall, and
Kenneth Chesebro have pleaded guilty and will not be tried in the Fulton
County case.
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      The Subpoenas seek, among other things, production of documents

relating to the planning and execution of unauthorized access to and

copying of highly restricted electronic information contained in component

elements of Georgia's voting system. Specifically, most of the responsive

documents Movants believe CCBOER has control over, but has not

produced,were likely located on the Desktop used by Ms.Hampton and her

successors or the CCBOER laptop used by Ms.Hampton(the"Laptop"). The

CCBOER Desktop documents were reportedly provided by the CCBOER to

the GBI. The Subpoenas seek documents, including, but not limited to,

communications that(1)evidence,refer to, reference, or reflect the planning

for, or access to, or copying of, voting system components and election data

after November 3,2020 by individuals who were not election officials;(2)are

related to the Election Management System server password change and

server replacement; or (3) are related to investigations of the unauthorized

voting system access.(Coalition Plaintiffs Requests #1-50(Exhibit 1); Curling

Plaintiffs Requests 1-16 (Exhibit 2)),

      There is no question or disagreement about the relevance of the

documents requested as they relate to voting system security and its

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vulnerabilities, core topics of Movants' claims in Curling. The three major

breaches of the system occurring in January 2021 and the failure to

investigate, acknowledge, or mitigate the security failures is likely

documented in the records on the Desktop and Laptop and are highly

relevant to the issues in the Curling litigation.

             Efforts to Secure Compliance Before Filing Motion

      Movants have exhausted every other option to secure compliance with

their Subpoenas. The effort to obtain the responsive records stored on the

Desktop and Laptop began with Open Records Act requests served by CGG

on March 4, 2022, continued throughout 2022 with the Subpoenas, and

further continued with additional Open Records Act requests through the

current time.^


      In response to CGG's March 4, 2022 Open Records Request("ORR")

for relevant emails, on March 10, 2022, CCBOER counsel, based in Tifton,



^ For efficiency, only a fraction of the exchanges between Movants and
CCBOER are attached as exhibits.        The attached exhibits document the
continuous challenge by Movants of the CCBOER's position that the records
are not retrievable. For the Court's convenience, the attached exhibits have
been marked by Movants with parallel lines in the margins indicating the
relevant text in the lengthy emails.
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Georgia,stated that Ms.Hampton's email account could not be accessed and

implied the requested emails had not been preserved. (Exhibit 3). Movants

and counsel for CCBOER exchanged numerous emails over the next three

months as CGG continued to request that CCBOER check the hard drive of

the Desktop to determine if Microsoft Outlook data files (.ost files)

containing Hampton emails were preserved. (Exhibit 4). CGG also asked

CCBOER to locate the county Laptop Ms.Hampton used in discharging her

duties. (Exhibits).

     In May 2022,CGG obtained an email dated July 2,2021,in which an IT

contractor for CCBOER advised Coffee County leaders that he could recover

the emails from the .ost files on the Desktop,assuming Ms.Hampton did not

delete those files. (Exhibit 6). CCBOER found no evidence that the files were

deleted, but did not produce any files. (Exhibit 7). CCBOER also stated to

CGG that no .ost files were on the Desktop because CCOBER used only a

web-based system that did not preserve a local copy of emails on the

Desktop. (Exhibit 7). Even so,on May 19,2021,CCBOER's county manager

Wesley Vickers instructed Ms. Hampton's successor as elections director,

James Barnes, to leave the CCBOER Desktop on in the evening so that

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Hampton's emails could be retrieved remotely from the desktop hard drive

by the IT Contractor. (Exhibit 8).

      No reports of the results of this May 19, 2021 plan to obtain Ms.

Hampton's emails have been produced to Movants;nor, as demonstrated in

subsequent communications, has any explanation reconciling the assertion

to CGG that only a web-based system exists with the county manager's

contradictory(internal)instruction,and the IT contractors statement that.ost

files on the Desktop could be recovered if not deleted

      Eight days earlier, on May 11, 2021, the Secretary of State's ("SOS")

office began an investigation to determine whether Doug Logan, Cyber

Ninja CEO,had communicated with the CCBOER staff after Ms. Hampton's

successor, Mr. Barnes, had raised a concern. The SOS investigation was

apparently never completed.          In mid-2022, the plaintiffs in Curling

discovered that Logan had, in fact, visited Coffee Coimty and, with Ms.

Hampton's assistance,led the second breach of the Coffee voting system on

January 18-19, 2021. Any emails between Logan and Hampton are highly

relevant to the Curling case.



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      As part of CGG's attempts to obtain responsive records, CGG

repeatedly requested that CCBOER recheck the availability of Hampton's

emails either "in the cloud" or resident on computers Ms. Hampton used.

Each time, CCBOER denied that Hampton's records had been preserved or

could be retrieved.


      In June 2022, the Curling Court granted Movants' request to obtain

discovery on the Coffee County breaches and authorized subpoenas to be

served on third parties for the purpose of obtaining relevant information

concerning the voting system breaches.(Transcript of Telephone Conference

Before Hon. Amy Totenberg,June 7,2022, pp. 26-27)(Exhibit 26)). Movants

served their respective Subpoenas seeking many of the same records that

CGG had requested through their ORR. The parties agreed documents

produced in response to the ORR would be incorporated as CCBOER

responses to the Subpoenas, with specific instructions and requests to

thoroughly search the Desktop files including any Outlook data files.

(Exhibit 25).

      CCBOER again denied Hampton's Desktop emails could be retrieved

either through web-based Microsoft Outlook services or through copies in

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the Outlook (.ost) files on the Desktop hard drive. Movants made multiple

requests to CCBOER to confirm the accuracy of that response, but the

response did not change. CCBOER repeatedly claimed they had no Outlook

data files or other access to Hampton's emails. (Exhibit 9 Items 9,10)

     On October 13,2023,CGG member Aileen Nakamura served an Open

Records Request on CCBOER seeking communications after October 5,2023,

with any IT contractors concerning possible recovery of Hampton's emails

from the Desktop computer records. On October 19, 2023, CCBOER

responded and refused to produce such documents claiming attorney-client

and work product privilege. (Exhibit 24). Movants'position is that CCBOER

counsel has avoided and continues to avoid disclosure without lawful basis


of obligations to comply with Movants' Subpoenas and Open Records

Requests.


4 Given the inconsistent responses which CGG had received to its prior Open
Records Requests concerning the existence of the Outlook data files on the
Desktop, CGG included Request #42 in its document subpoena (Exhibit 1),
seeking evidence that Outlook data files on the Desktop had been searched
for responsive records. CCBOER objected, claiming privilege, but further
stated it has no additional documents. (Exhibit 23 ^42 at 15). There is no
indication CCBOER diligently searched its files for responsive records,
particularly email records.
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                           The CCBOER Laptop

      Movants learned Ms.Hampton had used both a desktop computer and

a late model Laptop in her election-related duties. Movants understand and

believe that Ms. Hampton used the Laptop primarily when working

remotely, such as at off-site meetings or when visiting polling places. In-

office use of the Laptop included applications Ms. Hampton and other staff

used for creating Voter Photo Identification cards. Movants subpoenaed

responsive records regardless of which CCBOER computer contain those

records. When Movants repeatedly inquired about the records on the

Laptop, CCBOER stated there were no records of a "county-issued laptop"

being assigned to Ms.Hampton. (Exhibit 5,Item 8).

      Movants continued to press CCBOER to locate the Laptop Ms.

Hampton used and to locate any responsive records on it. (Exhibit 10, pp.3,

9). CCBOER continued to deny such a Laptop was used by Ms. Hampton.

(Exhibit 10, p. 1 Item 3; p. 5 Item 2.b.). On June 7, 2023, Movants' counsel

sent a picture to CCBOER counsel of Ms. Hampton using the CCBOER

Laptop in question and continued to ask questions about the existence or use

of the Laptop and the apparent refusal to locate the Laptop and search it for
                                     11
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responsive records. (Exhibits 11 and 12). On June 16, 2023, counsel for

CCBOER stated that CCBOER would not be responding to further questions

about the Laptop. (Exhibit 12).

      Movants later learned that, on May 22, 2023, the GBI sent an email to

CCBOER counsel stating that the GBI wanted to take possession of the

Laptop CCBOER counsel had told the GBI "Ms. Hampton used," but

CCBOER was "not prepared to produce" when initially requested by the

GBI in September 2022. (Exhibit 13). Thus, it appears CCBOER counsel

knew of the Laptop Ms.Hampton used and disclosed the same to the GBI in

September 2022, while simultaneously representing to Movants no such

Laptop existed. {Compare Exhibits 5,10 ivith Exhibits 12,13).

     To date,CCBOER has produced no files from the Laptop,although the

CCBOER no longer denies that the Laptop exists or that it was used by Ms.

Hampton. Now,the story has changed and CCBOER claims it does not have

possession or control of the Laptop. (Exhibit 12).

     Recent Public Disclosure ofExistence ofResponsive Documents

     On October 5, 2023, Movants learned of the existence of over 10,000

emails and 4,500 documents on the Desktop when Defendant Sidney Powell

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filed a briefs in the Fulton Case with excerpts from the recently completed

GBI report on the Coffee County breaches as exhibits. (Exhibit 14). The GBI

seized the CCBOER Desktop on June 12, 2023, after obtaining a search

warrant. (Exhibits 15,16).

             Renewed Demands for Production ofDocuments


      Exhibit 17 includes a series of emails between Movants' and


CCBOER's counsel beginning October 6, 2023, in which Movants' counsel

expressed dismay that CCBOER had repeatedly denied the existence of or

ability to retrieve ESI from the Desktop for over 18 months while CCBOER

apparently had access to that ESI the entire time. Upon learning that,

Movants demanded the responsive records be produced from the desktop

without delay.

     In the resulting exchange of emails between counsel,CCBOER counsel

claimed they lacked the ability to retrieve the emails and the responsive

email files and related documents are now only in the possession of the GBI.




5 See Fulton case Reply in Support of Ms.Powell's Motion to Produce Brady
Material and to Dismiss Counts 1-37for Prosecutorial Misconduct and Napue
Violations,filed October 5,2023.

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(Exhibit 17). CCBOER's suggestion that it kept no copy of nearly ten years'

worth of business records before relinquishing the Desktop to the GBI lacks

credibility—particularly given that CCBOER claimed internally that they

could have in fact retrieved the emails. (Exhibit 6). Numerous state and

federal statutes require multi-year retention of many of the types of election

records that likely and reportedly are contained on the Desktop, including

records responsive to the Subpoenas.

      On October 10, Movants' counsel requested again that CCBOER

produce the records even if it requires CCBOER obtaining access from GBI.

Movants did not receive a response. On October 17, 2023, Movants sent yet

another letter of conferral asking CCBOER to produce the responsive

documentsfrom the Desktop and Laptop. (Exhibit 18). CCBOER responded

stating they had turned the Desktop over to the GBI after the election staff

selected and copied records from the Desktop they would need for use in

future elections. CCBOER counsel claimed that CCBOER did not preserve

copies of other records, such as Ms. Hampton's emails, and that the GBI is

now in possession of the Desktop, purportedly outside the reach of the



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CCBOER. CCBOER counsel also represented that she contacted the GBI to

request a copy of the electronic records on the Desktop. (Exhibits 19,20).

       As described below, Movants respectfully request that this Court

compel CCBOER (1)to make all reasonable efforts to obtain the recordsfrom

the GBI,and (2)to conduct a thorough review of the records it continues to

hold for additional responsive materials. This is an urgent matter, made

only after many attempts to secure compliance without requiring the

intervention of the Court. Movants need access to these records to prepare

for trial now scheduled to begin on January 9, 2024.

                    Argument and Citation of Authority

A.     This is the proper Court to hear this motion.

       While the subpoena mustissue from the court where the Curling action

is pending(FRCP 45(a)(2)), a motion to enforce the subpoena should be filed

with the court where compliance is required. See Rules 45(d)(2)(B)(i)

(compel) and 45(g)(contempt).

B.     Contention that CCBOER cannot access documents is not credible.


       Any argument that CCBOER cannot access the responsive records or

no longer has possession, custody, or control over the documents should be

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rejected. It strains credulity to believe, and should not be assumed,that the

GBI would not have permitted CCBOER to preserve copies of any business

and election records, including records subject to public records disclosure

laws, on the CCBOER Desktop before it took possession in June 2023. If

CCBOER retained electronic records of Ms. Hampton's emails or other

responsive documents,they should be ordered to thoroughly search the files

(with expert help at their expense if deemed necessary) to produce

responsive records.

      If CCBOER delivered the Desktop without copying and preserving the

responsive electronic records, this Court should order that CCBOER obtain

a full and complete copy of its records from the GBI, to satisfy its long-

overdue obligations to produce responsive records to Movants. There is no

evidence to suggest that Ms. Hampton or another individual attempted to

delete the Outlook email files (.ost files) on the Desktop. (Exhibit 4,Item 11).

CCBOER's IT contractor should be able to recover the emails from the


Outlook data files, as he stated in his July 2, 2021 email. (Exhibit 6). If file

recovery problems are encountered, CCBOER should be ordered to engage

an expert with the skillset to recover the Outlook files at its expense and

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without further delay. (The GBI did not reference any extra effort required

to access the desktop files including the .ost records.)

C.     Prejudice to Movants"^ pursuit of their claims

       CCBOER's failure to produce the significant number of responsive

records from the Desktop and Laptop significantly prejudiced and inflated

the costs of Movants' discovery efforts, and will continue to do so as

Movants prepare for a January 2024 trial without these responsive and

highly relevant records. Movants were required to attempt to gain necessary

related information and documents through prolonged and often inefficient

third-party discovery efforts, when directly responsive documents were

likely available on the Desktop or Laptop.^             For context, Movants

experienced a similar situation with CCBOER regarding video security

records documenting the three occurrences of unauthorized access and three

breaches of the Coffee County elections system. Repeated efforts to obtain



6 Once the responsive records are produced, Movants anticipate filing a
motion for sanctions to recover the significant fees and costs associated with
the prolonged multi-step discovery efforts,the disrupted litigation schedule,
and unnecessary delays made necessary by CCBOER's failure to produce
responsive records in their possession.
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the highly relevant video security records began in March 2022,as CCBOER

repeatedly denied the existence of the video records in response to Open

Records Requests and two Subpoenas. CCBOER claimed that such video

records had not been preserved. It was only after the GBI insisted that

CCBOER produce such video records that the CCBOER "found" the exterior

and interior security videos on August 27, 2022 and September 16, 2022

respectively. (Exhibit 21,22).

       CCBOER's months' long denials of the existence of the Laptop the

Desktop Outlook .ost files—like its claims regarding the video records—are,

at best, suspect. Movants,thus, bring this motion to enforce the Subpoenas

and seek an Order compelling the immediate production of the subpoenaed

documents on both the Desktop and Laptop, and appropriately detailed

privilege logs for any claims of privilege by CCBOER.

D.     CCBOER's claims of privilege must be documented and specifically
       asserted.


      The record reflects a pattern of asserting blanket claims of attorney-

client privilege and other privileges when withholding records and

thereafter refusing to produce the necessary privilege log with required


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detail. (Exhibit 23). CCBOER's practice of vague blanket assertions of

privilege without identifying specific records further prejudices Movants in

their discovery efforts. Movants are entitled to an adequately detailed

privilege log identifying records for which privilege is claimed,the date and

nature of the documents, the author of the document, all recipients of the

document,and the content of the document with as much detail as retention

of the privilege, if any, permits. The Court should Order CCBOER to

prepare and deliver such a log to Movants and to the Court.

                                Conclusion


     For the foregoing reasons, Movants respectfully submit that the Court

should grant the relief sought herein and compel production of all

subpoenaed documents.

     Respectfully submitted this 23rd day of October,2023.


                                   /s/ Cary Ichter
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                 LOCAL RULE 26.5 CERTIFICATION

     I hereby certify that counsel for the Movants have made a good faith

effort to confer with counsel for Coffee County Board of Elections and

Registration on a number of occasions by letter and electronic mail

concerning the issues presented by this motion; however, the disputes

concerning Defendant's compliance with the subject subpoenas remain

unresolved.



                                        /s/ Cary Ichter
                                        Cary Ichter




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                       CERTIFICATE OF SERVICE


     I hereby certify that on October 23, 2023, I caused a copy of the

foregoing PLAINTIFFS' MOTION TO COMPEL COMPLAINCE WITH

SUBPOENAS TO PRODUCE DOCUMENTS, INFORMATION, OR

OBJECTS to be served on Defendant Coffee County Board of Elections and

Registration by sending a pdf. of same via electronic mail to its counsel as

follows:


      Jennifer Dorminey Herzog,Esq.(jherzog@hallboothsmith.com)

           Benjamin M.Perkins,Esq.(bperkins@olivermaner.com)



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